






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00410-CV






Joseph Bridgewater, Appellant


v.



Texas Department of Family and Protective Services, Appellee





FROM THE DISTRICT COURT OF TRAVIS COUNTY, 250TH JUDICIAL DISTRICT


NO. D-1-FM-07-000483, HONORABLE ORLINDA NARANJO, JUDGE PRESIDING 







M E M O R A N D U M   O P I N I O N


				

	Joseph Bridgewater brings this accelerated appeal from the district court's final
decree terminating his parental rights to his minor child, R.X.  Appellant's court-appointed counsel
has filed a motion to withdraw and an Anders brief, concluding that appellant's appeal is frivolous
and without merit.  Counsel's brief meets the requirements of Anders by presenting a professional
evaluation of the record and demonstrating that there are no arguable grounds for appeal.  See Anders
v. California, 386 U.S. 738, 744 (1967); see also Taylor v. Texas Dep't of Protective &amp; Regulatory
Servs., 160 S.W.3d 641, 646-47 (Tex. App.--Austin 2005, pet. denied) (applying Anders procedure
in parental-rights termination appeal).

	Appellant was provided with copies of his counsel's brief and motion to withdraw
and advised of his right to examine the record and to file a pro se brief.  After more than thirty&nbsp;days,
appellant has not filed a pro se brief or communicated with this Court in any way.  Because our
review of the record reveals nothing that would arguably support an appeal, we agree that the appeal
is frivolous and without merit.  See Anders, 386 U.S. at 741-44; Taylor, 160 S.W.3d at 646-47.

	We affirm the district court's decree of termination and grant counsel's
motion&nbsp;to&nbsp;withdraw.


					__________________________________________

					J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Puryear and Pemberton

Affirmed

Filed:   February 3, 2009


